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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

FOAMEX INTERNATIONAL INC., et al., Case No. 05-12685 (KG)

Debtors. (Jointly Administered)

Ref. Docket No. ei

ORDER GRANTING DEBTORS’ MOTION FOR AN ORDER FURTHER
EXTENDING THEIR EXCLUSIVE PERIOD WITHIN WHICH
TO SOLICIT ACCEPTANCES OF A CHAPTER 11 PLAN

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Upon consideration of the Motion! of Foamex International Inc., Foamex L.P.,
Foamex Latin America, Inc., Foamex Asia, Inc., FMXI, Inc., Foarnex Carpet Cushion LLC,
Foamex Capital Corporation, Foamex Mexico, Inc. and Foamex Mexico II, Inc., the above-
captioned debtors and debtors in possession (collectively, the “Debtors”, for entry of an order
extending the exclusive period during which only the Debtors may solicit acceptances of a plan
of reorganization (the “Motion”); and it appearing that “cause” exists to further extend the
Debtors’ Exclusive Period and that such relief is in the best interest of the Debtors, their estates
and creditors; and due and proper notice having been given under the circumstances and in
accordance with Del. Bankr. L.R. 2002-1(b); and it appearing that this is a core proceeding under
28 U.S.C. § 158(a); it is hereby |

ORDERED, that the Motion is granted; and it is further

ORDERED, that nothing in this Order shall prejudice the Debtors from seeking a

further extension(s) of the Exclusive Period from this Court.

 

' Unless otherwise defined herein, al! capitalized terms shall have the meanings ascribed to them in the Motion.

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ORDERED, that the Debtors’ Exclusive Period is hereby extended through and
including February 14, 2007.

Dated: Wilmington Delaware
2007

  

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